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              JOHN RHODES
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              Attorneys for Defendant




                                 IN THE UNITED STATES DISTRICT COURT
                                     FOR THE DISTRICT OF MONTANA
                                            BUTTE DIVISION

               UNITED STATES OF AMERICA,                            CR 18-23-BU-DLC

                                  Plaintiff,
                                                             NOTICE OF FILING LETTERS
               vs.                                             IN AID OF DETENTION
                                                                     HEARING
               JAMIE BROCK GRUBB,

                                 Defendant.


                        JAMIE BROCK GRUBB, the above-named Defendant, by and through

              Defendant’s counsel of record, the FEDERAL DEFENDERS OF MONTANA and

              JOHN RHODES, Assistant Federal Defender, hereby submits the attached letters of

              Gary Jacobs, Cindy Newell, Patricia Hagenlock, Brandi Johnson, Erik Grosvold,

              Jesse Horner, and Rex Leipheimer as relevant to the issue of detention in this matter.

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                        Dated this 11th day of October, 2018.

                                                                     JAMIE BROCK GRUBB

                                                                By: /s/ John Rhodes
                                                                    JOHN RHODES
                                                                    Assistant Federal Defender
                                                                    Federal Defenders of Montana
                                                                           Counsel for Defendant




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                                          CERTIFICATE OF SERVICE

                    I hereby certify that on October 11, 2018, a copy of the foregoing document
              was served on the following persons by the following means:

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              1.        CLERK, UNITED STATES DISTRICT COURT

              2.        CYNDEE L. PETERSON
                        Assistant United States Attorney
                              Counsel for the United States of America

              3.        JAMIE BROCK GRUBB
                            Defendant


                                                             By: /s/ John Rhodes
                                                                 JOHN RHODES
                                                                 Assistant Federal Defender
                                                                 Federal Defenders of Montana
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